                       Case 2:08-cr-00481-MCE Document 82 Filed 01/10/12 Page 1 of 1


                                  IN THE UNITED STATES DISTRICT COURT
                                     EASTERN DISTRICT OF CALIFORNIA
                                          SACRAMENTO DIVISION

UNITED STATES OF AMERICA

VS.                                                           Case No: 2:08-cr-00481-MCE-5

BI XIA NI


                                                       ORDER

                        Having reviewed Defendant Bi Xia Ni’s unopposed Motion to Allow Air Travel

(ECF No. 79), and good cause appearing, the Motion is hereby GRANTED. Defendant Ni
     shall be allowed to travel to China immediately upon the signing of this Order and shall return to the

United States immediately once she is released from the care of her physician.

.                       IT IS SO ORDERED.


Dated: January 9, 2012

                                                       __________________________________
                                                       MORRISON C. ENGLAND, JR
DEAC_Signatu re-END:
                                                       UNITED STATES DISTRICT JUDGE

c4d6b0d3
